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       DRIVERS SCHOOL OF FONTANA, INC.
 7
 8                                 UNITED STATES DISTRICT COURT

 9                               CENTRAL DISTRICT OF CALIFORNIA

10
11     MICHELLE SPINA, an individual,                    Case No. CIV-SB-2110647
12                                 Plaintiff,            DEFENDANT ROADMASTER
                                                         DRIVERS SCHOOL OF FONTANA,
13             v.                                        INC.’S NOTICE OF REMOVAL
                                                         PURSUANT TO 28 U.S.C. § 1441(B)
14     ROADMASTER DRIVERS SCHOOL OF
       FONTANA, INC.; and DOES 1 through 25,
15     inclusive,                                        Complaint Filed: April 1, 2021
                                                         Trial Date: Not yet assigned.
16                                 Defendants.
17
18
19    TO THE CLERK OF COURT AND PLAINTIFF:
20            PLEASE TAKE NOTICE that Defendant ROADMASTER DRIVERS SCHOOL OF
21    FONTANA, INC. (“Defendant”), hereby removes to this Court the state action described below,
22    which is within the original jurisdiction of this Court under 28 U.S.C § 1332(a) and properly
23    removed under 28 U.S.C. § 1441(b).
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30          DEFENDANT ROADMASTER DRIVERS SCHOOL OF FONTANA, INC.’S NOTICE OF REMOVAL
                                  PURSUANT TO 28 U.S.C § 1441(B)
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 1                                                       I.

 2                                        PROCEDURAL HISTORY

 3            1.      On April 1, 2021 MICHELLE SPINA (“PLAINTIFF”) filed a complaint captioned

 4    MICHELLE SPINA v. ROADMASTER DRIVERS SCHOOL OF FONTANA, INC. under Case No.

 5    CIV-SB-2110647 in the California Superior Court for the County of San Bernardino (the “State

 6    Court Action”). A true and correct copy of the complaint and summons and accompanying papers

 7    served upon Defendant and filed in the State Court Action are attached to this Notice of Removal

 8    as Exhibit A pursuant to 28 U.S.C. § 1446(a).

 9            2.      The complaint in the State Court Action asserts causes of action for (1) Unlawful

10    Discrimination Based Upon Physical Disability in Violation of FEHA - Government Code Section

11    12940, et seq.; (2) Failure to Prevent Discrimination - Government Code Section 12940, et seq.;

12    (3) Failure to Reasonably Accommodate a Physical Disability in Violation of FEHA - Government

13    Code Section 12940, et seq.; (4) Failure to Engage in the Interactive Process - Government Code

14    Section 12940, et seq.; (5) Wrongful Termination of Employment in Violation of Public Policy; (6)

15    Failure to Pay Overtime Wages; and (7) Failure to Pay All Wages at Termination. Plaintiff's claims

16    all arise out of Plaintiff’s employment with Defendant. The complaint alleges that Defendants

17    wrongfully terminated Plaintiff. In particular, the Complaint alleges that Plaintiff suffered

18    economic, non-economic, compensatory, contractual, and punitive damages caused by Defendant.

19            3.      Defendant disputes Plaintiff’s allegations, believes the Complaint lacks merit, and

20    denies that Plaintiff has been harmed in any way by any act or omission of Defendant.

21                                                       II.

22                                          BASIS FOR REMOVAL

23            4.      This civil action involves diversity of citizenship under the provisions of 28 U.S.C.

24    § 1332, which grants district courts original jurisdiction over civil actions where the matter is

25    between citizens of different states, and the amount in controversy exceeds the sum or value of

26    $75,000, exclusive of interest and costs. As a result, this action is within the original jurisdiction of

27    this Court, and thus may be removed by Defendant to the district court of the United States for the

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 1    district and division embracing the places where such action is pending. (28 U.S.C. § 1332(a); 28

 2    U.S.C. § 1441(b)).

 3                                                     III.

 4                       COMPLETE DIVERSITY BETWEEN THE PARTIES EXISTS

 5           5.      There is complete diversity between the parties. (28 U.S.C. § 1332(a); Johnson v.

 6    Columbia Props. Anchorage, LP, 437 F.3d 894, 899-900 (9th Cir. 2006)).

 7           6.      Plaintiff is a citizen of California. Defendant is informed and believes that Plaintiff

 8    Michelle Spina is, and at the time the complaint was filed, an individual residing in and a citizen of

 9    California. Plaintiff performed work for Defendant within the County of San Bernardino,

10    California. (Complaint ¶ 1.) While Plaintiff’s Complaint is silent as to her state of residence, at the

11    time of her employment with Defendant, she listed her residence as California. (Declaration of

12    Donald E. Hudson II (“Hudson Dec.”), ¶ 6; Exhibit D). Defendant is informed and believes

13    that Plaintiff is domiciled in California.

14           7.      Defendant is a citizen of Florida. A corporation is a citizen of (1) the state where

15    its principal place of business is located, and (2) the state in which it is incorporated. (28 U.S.C. §

16    1332(c)(1)). As the Supreme Court held in Hertz Corp. v. Friend, “the phrase ‘principal place of

17    business in § 1332(c)(1) refers to the place where a corporation’s high level officers direct, control,

18    and coordinate the corporation’s activities, i.e., its ‘nerve center,’ which will typically be found at

19    its corporate headquarters.” 599 U.S. 77, 78 (2010). Defendant Roadmaster Drivers School of

20    Fontana, Inc. is, and at the time the complaint was filed was, a Florida Corporation, organized and

21    existing under the laws of the State of Florida with its principal place of business in St. Petersburg,

22    Florida. (Hudson Dec., ¶ 4; Exhibit B). This is also reflected on Defendant’s registration with the

23    California Secretary of State. (Exhibit B.)

24           8.      Defendant’s headquarters are located in St. Petersburg, Florida. (Hudson Dec. ¶ 4).

25    Defendant’s headquarters function as the actual center of direction, control, and coordination of

26    Defendant’s business. (Hudson Dec., ¶ 4). Defendant manages all company revenue generation,

27    safety, recruiting, equipment maintenance monitoring, payroll, and other essential corporate

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 1    functions at its headquarters in Florida. (Hudson Dec., ¶ 5). The overall management and

 2    administration of the business of Defendant is performed by personnel in St. Petersburg, Florida.

 3    Defendant has three executive officers, and each of those individuals is in St. Petersburg, Florida.

 4    As a result, all core leadership, executive, and administrative functions are carried out primarily at

 5    Defendant’s headquarters in St. Petersburg, Florida. (Hudson Dec., ¶ 5). Moreover, all

 6    management of company revenue generation, safety, equipment maintenance monitoring, payroll,

 7    accounting billing and collections, sales management and administration, student finance and

 8    underwriting, human resources, and legal compliance occurs at its headquarters in Florida, or its

 9    campus in Millington, Tennessee. (Hudson Dec., ¶ 5.) Although applications and interviews for

10    employment may take place at the office in Fontana, California, and persons in Fontana, California

11    may provide meaningful input on employment-related matters, all final employment-related

12    decisions, including hiring, discipline, and/or termination are ultimately made by the corporate

13    officers and higher-level management located at the Florida headquarters or in Tennessee.

14    (Hudson Dec., ¶ 5). Finally, all of Defendant's policies are set in Florida or Tennessee. (Hudson

15    Dec., ¶ 5). See Central West Virginia Energy Co., Inc. v. Mountain State Carbon, LLC, 636

16    F.3d 101, 107 [“the place where the corporation’s high-level officers direct, control, and

17    coordinate the corporation’s activities” is a corporation’s principal place of business for

18    diversity purposes.”] Defendant’s corporate officers and high-level managers make all

19    significant decisions and set corporate policy at the Florida headquarters. (Hudson Dec., ¶ 5).

20    Hoschar v. Appalachian Power Co., 739 F.3d 163, 172 (4th Cir. 2014) [“When a corporation’s

21    day-to-day operations are managed in one state and its officers make significant corporate

22    decisions and set corporate policy in another, the corporation’s nerve center and principal place of

23    business is the latter.”]

24            9.      Although Defendant’s day-to-day operations are carried out in Fontana, California,

25    the “nerve center” is in Florida. (Hudson Dec. ¶ 5). See Central West Virginia Energy Co., Inc. v.

26    Mountain State Carbon, LLC, 636 F.3d 101, 107 [nerve center was in Michigan because seven of

27    eight corporate officers made strategic decision out of Michigan location, even though one

28    corporate officer worked in West Virginia and day-to-day operations were conducted out of West
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30        DEFENDANT ROADMASTER DRIVERS SCHOOL OF FONTANA, INC.’S NOTICE OF REMOVAL
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 1    Virginia]; York Group, Inc. v. Pontone, No. 2:10-CV-01078-ECF, 2012 WL 3127141, at *14

 2    (W.D.PA July 31, 2012) [day-to-day management functions in another state are insufficient to

 3    establish a corporation’s principal place of business]; L’Garde, Inc. v. Raytheon Space & Airborne

 4    Systems, 805 F.Supp.2d 932, 939-40 [corporate nerve center was in Massachusetts despite

 5    widespread business activity in California].

 6           10.     Given that Plaintiff is a citizen of California and Defendant is a citizen of Florida,

 7    the complete diversity requirement is satisfied.

 8           11.     The complaint names "Does 1 through 25, inclusive," as defendants in this lawsuit.

 9    According to 28 U.S.C. Section 1441(a), "for purposes of removal under this chapter, the

10    citizenship of defendants sued under fictitious names shall be disregarded."

11           12.     Removing party is unaware of any other parties who have been named or who have

12    appeared in the underlying State Court Action.

13                                                       IV.

14         THE AMOUNT IN CONTROVERSY EXCEEDS AN AGGREGATE OF $75,000

15           13.     Additionally, the amount in controversy exceeds $75,000, excluding interests and

16    costs. 28 U.S.C. § 1332(a); Andrews v. E.I. du Pont de Nemours & Co., 447 F.3d 510, 514-15 (7th

17    Cir. 2006). The removal statute requires that a defendant seeking to remove a case to federal court

18    must file a notice “containing a short and plain statement of the grounds for removal.” 28 U.S.C. §

19    1446(a). The Supreme Court, in Dart Cherokee Basin Operation Co., LLC v. Owens, 135 S.Ct.

20    547, 554 (2014), recognized that “as specified in 1446(a), a defendant’s notice of removal need

21    include only a plausible allegation that the amount in controversy exceeds the jurisdictional

22    threshold.” Defendant is informed and believes that the amount in controversy is valued over

23    $75,000 as set forth in the manner the Complaint was file and categorized as an “unlimited” amount.

24           14.     The Complaint does not allege a damage amount as to each claim. Removal is

25    therefore proper if, from the allegations of the Complaint and the Notice of Removal, it is more

26    likely than not that the value of Plaintiff’s claims exceeds $75,000. Sanchez v. Monumental Life

27    Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996); Lucett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th

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 1    Cir. 1999).

 2           15.     A settlement demand is relevant evidence of the amount in controversy if it appears

 3    to reflect a reasonable estimate of the plaintiff’s claim. Cohn v. Petsmart, Inc., 281 F.3d 837, 840

 4    (9th Cir. 2002); see also Chase v. Shop ‘N Save Warehouse Foods, Inc. 110 F.3d 424, 428-30 (7th

 5    Cir. 1997); Burns v. Windsor Ins. Co., 31 F.3d 1092, 1097 (11th Cir. 1994); Wilson v. Belin, 20

 6    F.3d 644, 651 n. 8 (5th Cir. 1994).

 7           16.     On April 9, 2021 Plaintiff’s counsel emailed Defendant’s counsel regarding

 8    settlement, demanding $85,000 as Plaintiff’s “intentionally and thoughtfully made” take-it-or-

 9    leave-it settlement offer. (Declaration of Peter B. Maretz (“Maretz Dec.” ¶ 3, Exhibit C). In the

10    settlement offer, Plaintiff’s counsel acknowledges that Plaintiff has now incurred additional costs

11    and damages since Plaintiff’s pre-litigation settlement offer of $75,000, thereby indicating that the

12    amount in controversy is greater than $75,000. (See Exhibit C).

13           17.     Additionally, in determining whether the jurisdictional amount minimum is met, the

14    Court considers all recoverable damages, including compensatory damages, statutory penalties and

15    attorney’s fees. Hunt v. Wash. State Apple Advertising Comm’n, 432 U.S. 333, 347-48 (1977); Galt

16    G/S v, JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998).

17           18.     Plaintiff alleges claims for disability discrimination, wrongful termination, failure

18    to pay overtime wages, and failure to pay wages at termination. Plaintiff prays for relief for general

19    damages, special damages, compensatory damages, punitive damages, contractual damages,

20    prejudgment and post-judgment interest, attorney’s fees, costs, declaratory and injunctive relief,

21    and any other relief the Court deems proper. (Complaint p. 17, lines 4-20.)

22           19.     Plaintiff further alleges that “[a]s a proximate result of the conduct of [Defendant],

23    [she] has suffered and will continue to suffer damages in terms of lost wages, lost bonuses, lost

24    benefits, and other pecuniary losses according to proof.” (Complaint ¶¶ 29, 39, 52, 65, 76).

25    Although Defendant denies all liability, based on Plaintiff’s claim for lost wages and benefits, the

26    amount in controversy plausibly exceeds $75,000, exclusive of costs and interest. Plaintiff’s hourly

27    rate at the time of her termination of employment was $19 per hour. (Hudson Dec. ¶ 7). Plaintiff

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 1    worked approximately 40 hours per week. (Hudson Dec. ¶ 7).

 2           20.     Accordingly, Plaintiff’s backpay, if calculated based on Plaintiff’s gross earnings

 3    for the period from November 10, 2020 (her date of separation from employment) through an

 4    estimated trial date of April 1, 2022 (one year from the date of the filing of the Complaint) would

 5    total approximately $55,986.61 ($3,293.33 x 17 months). On a conservative assumption that the

 6    Court may also award one year of front pay in the event liability was found, Plaintiff’s front pay,

 7    for purposes of this analysis only, would total approximately $39,519.96 ($3,293.33 x 12 months).

 8    Based on Plaintiff’s claim for lost wages alone, the amount in controversy is at least $95,506.57.

 9           21.     Plaintiff’s claim for failure to pay overtime compensation also indicates an amount

10    in controversy that exceeds $75,000. Based on Plaintiff’s hourly rate of $19, Plaintiff’s overtime

11    rate was $28.50 ($19 x 1.5). Plaintiff was employed by Defendant from November 11, 2019 to

12    November 10, 2020 (approximately 52 workweeks). Assuming for purposes of analysis that

13    Plaintiff is owed on average one-hour of overtime compensation per workweek, Plaintiff’s owed

14    overtime compensation would total $1,482.00 ($28.50 x 52 workweeks).

15           22.     Plaintiff’s claim for waiting time penalties under Labor Code § 203 also indicates

16    an amount in controversy that exceeds $75,000. Under Labor Code § 203, the wages of an

17    employee who is terminated continue as a penalty from the due date for a maximum of 30 days.

18    Based on Plaintiff’s full-time employee status and hourly rate of $19, Plaintiff’s daily wages totaled

19    approximately $152 ($19 x 8 hours). Assuming for the purposes of analysis only, in the event

20    liability is found, Plaintiff would be owed approximately $4,560 in waiting time penalties ($152 x

21    30 days).

22           23.     Based on her claim for lost wages, unpaid overtime compensation, and waiting time

23    penalties the amount in controversy is at least $101,548.57.

24           24.     Plaintiff also seeks attorneys’ fees which may be awarded under FEHA. (Complaint

25    ¶¶ 33, 43, 56, 69, 85, 91; see also Cal. Gov. Code § 1295(b)). “[W]here an underlying statute

26    authorizes an award of attorneys’ fees, either with mandatory or discretionary language, such fees

27    may be included in the amount in controversy.” Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1556

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 1    (9th Cir. 1998).

 2            25.      Plaintiff also prays for punitive damages against Defendant. (Complaint ¶¶ 32, 42,

 3    55, 68, 79). It is well established that punitive damages are considered by the Court in determining

 4    the amount in controversy. See Nasiri v. Allstate Indem. Co., 41 Fed. Appx. 76, 77 (9th Cir. 2002);

 5    Gibson v. Chrysler Corp., 261 F.3d 927, 949 (9th Cir. 2001).

 6            26.      In cases such as the instant action, the amount in controversy may be satisfied by

 7    the pleading of several different types of damages in the complaint, even though the exact dollar

 8    amount of damages is not estimated by the removing party. See White v. FCI USA, Inc., 319 F.3d

 9    672, 674 (5th Cir. 2003) [wrongful termination action including a lengthy list of compensatory

10    damages including emotional distress combined with a claim for attorney’s fees and punitive

11    damages, was sufficient to exceed the $75,000 minimum required to establish diversity

12    jurisdiction].

13            27.      As the alleged damages and the settlement demand reflect an amount in controversy

14    that exceeds the Court’s jurisdictional limit and as the parties are diverse, removal is proper.

15                                                            V.

16                                               VENUE IS PROPER

17            21.      In accordance with 28 U.S.C. § 1441(a), this Notice of Removal is filed in the

18    district court of the United States in which the Action is pending. The California Superior Court

19    for the County of San Bernardino is located within the Central District of California – Eastern

20    Division. 28 U.S.C. § 84(d). This Notice of Removal is therefore properly filed in this Court

21    pursuant to 28 U.S.C. § 1441(a).

22                                                         VI.

23                                             REMOVAL IS TIMELY

24            22.      Under 28 U.S.C. § 1446(b), the notice of removal of a civil action must be filed
25    within thirty (30) days after services of process. 28 U.S.C § 1446(b); see Murphy Bros., Inc. v.
26    Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999) [the 30-day removal period runs from the
27    service of the summons and complaint]. According to the proof of service, Defendant via its
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 1    registered agent on May 20, 2021. (See Exhibit A). This Notice of Removal is therefore timely
 2    pursuant to 28 U.S.C § 1446(b).
 3           23.       In accordance with 28 U.S.C. § 1446(d), contemporaneously with the filing of this
 4    Notice of Removal in the United States District Court for the Central District of California, the
 5    undersigned provided written notice of such filing to Plaintiff’s counsel of record: Andrew
 6    Malatesta, Malatesta Law, 16501 Ventura Blvd., Suite 400, Encino, CA 91436, ajm@malatesta-
 7    law.com. In addition, a copy of this Notice of Removal is filed with the Clerk of the Superior Court
 8    of the State of California, County of San Bernardino.
 9                                                          VII.

10                                          NON-WAIVER OF DEFENSES

11           24.       By removing this action from California Superior Court, Defendant does not waive

12    any defenses available to it.

13           25.       By removing this action from California Superior Court, Defendant does not admit

14    any of the allegations in Plaintiff’s complaint.

15                                                       VIII.

16                                               CONCLUSION

17           26.       For all of the reasons stated above, this action is within the original jurisdiction of

18    this Court pursuant to 28 U.S.C. § 1332(a). Accordingly, this action is removable pursuant to 28

19    U.S.C. § 1441.

20           WHEREFORE, Defendant Roadmaster Drivers School of Fontana, Inc. gives notice that

21    the above-described action pending against them in the Superior Court of the State of California,

22    County of San Bernardino, is hereby removed to this Court.

23      DATED: June 9, 2021                          STOKES WAGNER ALC
24
                                                           /s/ Peter B. Maretz
                                                     By: _____________________________________
25                                                        PETER B. MARETZ
                                                          JAMIE L. SANTOS
26                                                        Attorneys for Respondent ROADMASTER
                                                          DIRVERS SCHOOL OF FONTANA, INC.
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                   EXHIBIT B
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                California Secretary of State
                Electronic Filing


Corporation - Statement of Information
                            Entity Name:           ROADMASTER DRIVERS SCHOOL
                                                   OF FONTANA, INC.

                     Entity (File) Number:         C3262770
                                      File Date:   02/22/2021
                                   Entity Type:    Corporation
                                   Jurisdiction:   FLORIDA
                              Document ID:         GQ87445

Detailed Filing Information

   Entity Name:
                                                       ROADMASTER DRIVERS SCHOOL OF
                                                       FONTANA, INC.
   Business Addresses:
    a   Street Address of Principal
        Office in California:                          10251 Calabash Avenue
                                                       Fontana, California 92335
                                                       United States of America

        Mailing Address:                               11300 4th Street North, Suite 200
                                                       St Petersburg, Florida 33716
                                                       United States of America

        Street Address of Principal
        Executive Office:                              11300 4th Street North, Suite 200
                                                       St Petersburg, Florida 33716
                                                                                                  ID: GQ87445

                                                       United States of America
   Officers:

   a    Chief Executive Officer:                       Bradley A Ball
                                                       11300 4th Street North, Suite 200
                                                       St Petersburg, Florida 33716
                                                       United States of America
   b. Secretary:                                       John E Kearney Jr.
                                                       11300 4th Street North, Suite 200
                                                       St Petersburg, Florida 33716
                                                       United States of America

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                                                          Bradley A Ball
                                                          11300 4th Street North, Suite 200
                                                          St Petersburg, Florida 33716
                                                          United States of America

Director:                                                 Not Applicable



Number of Vacancies on the Board of
Directors:                                                Not Applicable

     ent o Service of Process:                            INCORP SERVICES, INC. (C2294569)




Type of Business:                                         Commercial truck driver training services




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       on          to      n




Electronic Signature:         Bradley A. Ball

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                   EXHIBIT C
       Case 5:21-cv-00975
From: Andrew                     Document 1 Filed 06/09/21 Page 55 of 60 Page ID #:55
               Malatesta <ajm@malatesta-law.com>
Date: Friday, April 9, 2021 at 3:30 PM
To: Peter B. Maretz <pmaretz@stokeswagner.com>
Subject: Re: Spina adv. Roadmaster Drivers School

Peter,

First, and for the record, Ms. Spina's Complaint was sent in for filing on April 1. It appears the San Bernardino
Superior Court is having some delays as I have not yet received the documents back from the Court and that is
why you have not yet been served. (It took nearly a month for a Complaint to get filed for me in Riverside
Superior Court so it seems like, shockingly, the Superior Courts not using e-filing are significantly behind.)
Nonetheless, I was not bluffing re litigating this dispute.

Thank you for providing me that information -- I am always happy to review any applicable documents.
Pointedly however, I do not believe what you provided is even relevant to this matter -- Ms. Spina was not
terminated for performance issues and performance issues were not mentioned -- once -- in any
correspondence she had with Mr. Hudson or anyone from Roadmasters with respect to her termination. What's
more, during her employment, Ms. Spina never received any discussion with respect to any purported
performance issues. So in short, Roadmasters' attempt to bring purported performance issues is nothing more
than a red herring. I will make this very clear to the jury at trial and will also, through discovery, obtain all
relevant performance metrics for all Roadmasters employees in the past several years to compare Ms. Spina's
performance to others' performance.

This case -- and what will be focused on at trial -- is whether or not Roadmasters' accommodated Ms. Spina's
physical disability. Sher certainly could perform the essential functions of her job from home -- she had a
computer, internet access, and a phone -- and she should have been permitted to work from home. Even if, for
some reason I cannot fathom, Ms. Spina could not perform the essential functions of her job from home, Ms.
Spina should have been permitted the 6 additional weeks of leave she needed to be to return to work full time.
(I believe

With respect to Roadmasters' failure to pay overtime wages, since I do not yet have all of her pay statements, I
cannot accurately determine how much Ms. Spina. However, I do know that any calculation of wages/penalties
owed must include 203 penalties and attorney's fees.

I do appreciate Roadmasters' attempt to resolve this dispute and it is not my intention to play hardball here.
Ms. Spina's $75,000 settlement offer was intentionally and thoughtfully made. As I had hoped to make clear
during our initial call, this was not a bullshit opening offer -- it was our real offer. Understandably this is
probably different than what you are used to as I know many Plaintiffs attorneys, as a matter of course, make
an opening offer that it 4x what they will actually take. That was not the case here.

Ms. Spina's $75,000 settlement offer came off the table when it was not accepted two weeks ago and this
matter turned to formal litigation. Ms. Spina has now incurred additional costs in filing her lawsuit, her
damages have grown further, and my attorneys fees have grown. Consequently, Ms. Spina will now agree to
settle this matter for $85,000. If the message is not yet clear, Ms. Spina is fully prepared to litigate this lawsuit
and is not going to accept anything but a fair value settlement to end this dispute.

Best,
Andrew

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On Fri, Apr 9, 2021 at 1:57 PM Peter B. Maretz <pmaretz@stokeswagner.com> wrote:
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                   EXHIBIT D
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                   EXHIBIT E
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